     Case 1:23-cv-05875-JGK-VF            Document 117        Filed 02/24/24      Page 1 of 6




                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

 D. G. Sweigert,
 Plaintiff                                               1:23-cv-06881-JGK-VF

                   -against-                                 Judge Koeltl
                                                          Magistrate Figueredo
 Jason Goodman,
 Defendant                                       Related Case: 23-cv-05875-JGK-VF


                         PLAINTIFF’S PROPOSED WITNESS LIST


In light of Defendant Goodman’s docketing of his motion letter at ECF no. 116, 2/23/2024, the

pro se Plaintiff is compelled to advise this Court of the anticipated witness that will be

submitted, when formally requested, by the Plaintiff. It appears below:

       CHRISTOPHER ELLIS BOUZY, New Jersey, BENJAMIN WITTES, Washington,

       D.C., NINA JANKOWICZ, Washington, D.C., ADAM SHARP, New York, New York,

       SETH BERLIN, New Jersey, MAXWELL MISHKIN, New Jersey.

These individuals appear as co-defendants in the attached.     Signed February 24, 2024.



                      D. G. SWEIGERT PRO SE PLAINTIFF


                                CERTIFICATE OF SERVICE
On this date the undersigned’s PROPOSED WITNESS LIST has been placed in the U.S. Postal

Service and sent to: Youtuber Jason Goodman, 252 7th Avenue, Apt. 6-S New York, N.Y. 10001

Signed February 24, 2024 (2/24/2024)



                                                  D. G. SWEIGERT PRO SE PLAINTIFF, C/O
                                                             PMB 13339, 514 Americas Way,
                                                                      Box Elder, SD 57719
                                                  1
     Case
      Case1:23-cv-05875-JGK-VF
            1:21-cv-10878-AT-JLC Document
                                 Document 117
                                          278 Filed
                                               Filed02/21/24
                                                     02/24/24 Page
                                                               Page1 of
                                                                     2 of
                                                                        56


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UNITED STATES DISTRICT COURT                                       DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                      ELECTRONICALLY FILED
JASON GOODMAN,                                                     DOC #: _________________
                                                                   DATE FILED: 2/21/2024
                               Plaintiff,

               -against-                                              21 Civ. 10878 (AT) (JLC)

CHRISTOPHER ELLIS BOUZY, BOT SENTINEL,                                         ORDER
INC., GEORGE WEBB SWEIGERT, DAVID
GEORGE SWEIGERT, BENJAMIN WITTES, NINA
JANKOWICZ, ADAM SHARP, MARGARET
ESQUENET, THE ACADEMY OF TELEVISION
ARTS AND SCIENCES, SETH BERLIN,
MAXWELL MISHKIN,

                        Defendants.
ANALISA TORRES, District Judge:

       Plaintiff pro se, Jason Goodman, brings this action against Defendants Christopher

Ellis Bouzy, Bot Sentinel, Inc., George Webb Sweigert, David George Sweigert, Benjamin

Wittes, Nina Jankowicz, Adam Sharp, Margaret Esquenet, the Academy of Television Arts

and Sciences, Seth Berlin, and Maxwell Mishkin, alleging fraud, defamation, abuse of process,

and civil conspiracy. Am. Compl. ¶¶ 52–92, ECF No. 100. As discussed below, the Court has

referred several motions to the Honorable James L. Cott for a report and recommendation.

See ECF No. 268.

       On November 28, 2023, Judge Cott issued a Report and Recommendation (“R&R”),

ECF No. 269, recommending, inter alia, that the Court (1) grant the motion of the Academy,

Sharp, and Esquenet (the “ATAS Defendants”) at ECF No. 241 to amend the judgment

entered in this case to include a filing injunction prohibiting Goodman from filing any

additional suits or claims against them without first obtaining leave of court; (2) grant the

application of Bouzy, Bot Sentinel, Inc., Berlin, and Mishkin (the “Bouzy Defendants”) at

ECF No. 243, seeking the same relief; (3) deny the ATAS Defendants’ motion for attorney’s
     Case
      Case1:23-cv-05875-JGK-VF
            1:21-cv-10878-AT-JLC Document
                                 Document 117
                                          278 Filed
                                               Filed02/21/24
                                                     02/24/24 Page
                                                               Page2 of
                                                                     3 of
                                                                        56




fees at ECF No. 248; and (4) deny Defendant David Sweigert’s motion at ECF No. 255 for a

filing injunction and other relief against Goodman. R&R at 3–5.

         Having reviewed the R&R, and the objections and responses submitted by the parties,

ECF Nos. 271–75, for the reasons stated below, the Court OVERRULES the parties’

objections and ADOPTS the R&R in its entirety.

                                                  DISCUSSION 1

    I.       Standard of Review

         A district court “may accept, reject, or modify, in whole or in part, the findings or

recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1)(C). When a party

makes specific objections, the court reviews de novo those portions of the R&R to which

objection is made. Id.; Fed. R. Civ. P. 72(b)(3). However, when “a party makes only conclusory

or general objections, or simply reiterates the original arguments,” the court reviews the R&R

“strictly for clear error.” Harris v. TD Ameritrade Inc., 338 F. Supp. 3d 170, 174 (S.D.N.Y.

2018) (citation omitted); Wallace v. Superintendent of Clinton Corr. Facility, No. 13 Civ. 3989,

2014 WL 2854631, at *1 (S.D.N.Y. June 20, 2014) (citation omitted); see also Bailey v. U.S.

Citizenship & Immigr. Servs., No. 13 Civ. 1064, 2014 WL 2855041, at *1 (S.D.N.Y. June 20,

2014) (“[O]bjections that are not clearly aimed at particular findings . . . do not trigger de novo

review.”). Moreover, “a district judge will not consider new arguments raised in objections to a

magistrate judge’s report and recommendation that could have been raised before the magistrate

but were not.” United States v. Gladden, 394 F. Supp. 3d 465, 480 (S.D.N.Y. 2019) (citation

omitted).




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 The Court presumes familiarity with the facts and procedural history as detailed in Judge Cott’s previous R&Rs,
see ECF Nos. 59, 203, and, therefore, does not summarize them here.


                                                        2
     Case
      Case1:23-cv-05875-JGK-VF
            1:21-cv-10878-AT-JLC Document
                                 Document 117
                                          278 Filed
                                               Filed02/21/24
                                                     02/24/24 Page
                                                               Page3 of
                                                                     4 of
                                                                        56




          The Court may adopt those portions of the R&R to which no objection is made “as long

as no clear error is apparent from the face of the record.” Oquendo v. Colvin, No. 12 Civ. 4527,

2014 WL 4160222, at *2 (S.D.N.Y. Aug. 19, 2014) (citation omitted). An R&R is clearly

erroneous if the reviewing court is “left with the definite and firm conviction that a mistake has

been committed.” Easley v. Cromartie, 532 U.S. 234, 242 (2001) (citation omitted); see also

Travel Sentry, Inc. v. Tropp, 669 F. Supp. 2d 279, 283 (E.D.N.Y. 2009).

          “Pro se parties are generally accorded leniency when making objections.” Pinkney v.

Progressive Home Health Servs., No. 06 Civ. 5023, 2008 WL 2811816, at *1 (S.D.N.Y. July 21,

2008). “Nonetheless, even a pro se party’s objections to a [r]eport and [r]ecommendation must

be specific and clearly aimed at particular findings in the magistrate’s proposal, such that no

party be allowed a ‘second bite at the apple’ by simply relitigating a prior argument.” Id.

(citation omitted).

   II.       Goodman’s Objections

          Goodman’s objections, ECF No. 272, are general, conclusory, and merely reiterate

arguments he has made in previous objections and filings submitted to both the Court and Judge

Cott. See Wallace, 2014 WL 2854631, at *1. The Court has reviewed Judge Cott’s thorough and

well-reasoned R&R for clear error and finds none. Accordingly, Goodman’s objections to the

R&R are OVERRULED.

   III.      Sweigert’s Objections

          Sweigert objects to Judge Cott’s recommendation that this Court deny his request,

contending that Judge Cott erroneously placed his motion “on the identical course of other

defendants that have sought individualized” filing injunctions, thus failing to address his specific

request for a show cause hearing. ECF No. 274 at 5.




                                                  3
     Case
      Case1:23-cv-05875-JGK-VF
            1:21-cv-10878-AT-JLC Document
                                 Document 117
                                          278 Filed
                                               Filed02/21/24
                                                     02/24/24 Page
                                                               Page4 of
                                                                     5 of
                                                                        56




        However, Sweigert requested an order directing Goodman “to show cause in writing”

why Goodman should not be required to “seek [court] permission to file any new action” that is

“based [on], relies upon, or promotes a conspiracy theory.” See ECF No. 255 at 1, 3. Although

Sweigert’s motion was titled a “motion for show cause hearing,” the ultimate relief sought was,

in essence, a filing injunction. Judge Cott acted well within his discretion in construing

Sweigert’s request for a written order or hearing as a motion for an injunction requesting the

same ultimate relief. E.g., Highland CDO Opportunity Master Fund, L.P. v. Citibank, N.A., No.

12 Civ. 2827, 2014 WL 6686600, at *3 (S.D.N.Y. Nov. 21, 2014) (where the parties’ letters

“adequately present [their] views of a straightforward request, it is [] appropriate . . . to treat the

letters themselves as motion papers and to rule on the merits”); In re Best Payphones, Inc., 450

F. App’x 8, 15 (2d Cir. 2011) (holding that “district court did not abuse its discretion in

construing the letter as a motion and denying the motion”); cf. Fed. R. Civ. P. 1 (stating that the

Rules “should be construed, administered, and employed . . . to secure the just, speedy, and

inexpensive determination of every action and proceeding”).

        Further, Sweigert does not challenge Judge Cott’s conclusion: that the relief sought is

both vague and unenforceable. R&R at 4. Because Sweigert does not address this point, the

Court reviews the R&R on this issue “strictly for clear error,” Harris, 338 F. Supp. 3d at 174,

and concludes that Judge Cott did not clearly err in his analysis.

                                           CONCLUSION

        The Court has reviewed the remainder of the R&R for clear error and finds none. For the

foregoing reasons, the Court OVERRULES the parties’ objections and ADOPTS the R&R in its

entirety. Accordingly:

        1. The ATAS Defendants’ motion, ECF No. 241, to amend the judgment to
           impose a filing injunction barring any future filings by Goodman against the



                                                   4
    Case
     Case1:23-cv-05875-JGK-VF
           1:21-cv-10878-AT-JLC Document
                                Document 117
                                         278 Filed
                                              Filed02/21/24
                                                    02/24/24 Page
                                                              Page5 of
                                                                    6 of
                                                                       56




           ATAS Defendants in this District without first obtaining leave of court is
           GRANTED.

       2. The Bouzy Defendants’ application, ECF No. 243, to amend the judgment to
          impose a filing injunction barring any future filings by Goodman against the
          Bouzy Defendants in this District without first obtaining leave of court is
          GRANTED.

       3. The ATAS Defendants’ motion for attorney’s fees, ECF No. 248, is DENIED.

       4. Defendant David Sweigert’s motion for an injunction and other relief, ECF
          No. 255, is DENIED.

       Accordingly, the Court ADOPTS Judge Cott’s R&R in its entirety. The parties’

objections are OVERRULED. The Clerk of Court is directed to terminate the motions at

ECF Nos. 241, 243, 248, and 255, and enter judgment consistent with this order and the

R&R.


       SO ORDERED.

Dated: February 21, 2024
       New York, New York




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